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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF GEORGIA
                                     SAVANNAH DIVISION


    MORRIS ALVIN GWEFI                                )

                 Petitioner,                          )
                                                      )


    .v.                                               )



                                                      )          4,I2-ev2j3
    UNITED STATES OF AMERICA.,                        )
                                                      )


                 Respondent..                         )
                                                      )




                                              ORDER

          After a careful de nova review of the record in this case the Court concurs with the

Magistrate Judges Report and Recommendation, to which objections have been filed

AcerrdrngJv the Report and Recommendation of the Magistrate fudge i        ADOPTED as the

opinion of the Cowt.

                                                  I
                                                      t
                                            The / day of February. 2013




                                            B. AVANTEDENFJELD,.11A44 /
                                            UNITED STATE S DISTRIC11OURT
                                            SOUTHERN DISTRICT OF GEORGIA
